USCA Case #25-5016    Document #2104167          Filed: 03/05/2025   Page 1 of 35

                [ORAL ARGUMENT NOT YET SCHEDULED]
                            No. 25-5016

                  United States Court of Appeals
                for the District of Columbia Circuit
                     UNITED STATES OF AMERICA; ET AL.,
                                           Plaintiffs-Appellees,
                                      v.
                                GOOGLE LLC,
                                           Defendant-Appellee,
                                 APPLE INC.,
                                           Movant-Appellant.


  On Appeal from the United States District Court for the District of Columbia
 Nos. 1:20-cv-03010-APM; 1:20-cv-03715-APM (Hon. Amit Priyavadan Mehta)

                REPLY BRIEF OF APPELLANT APPLE INC.


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USCA Case #25-5016                 Document #2104167                      Filed: 03/05/2025            Page 2 of 35



                                        TABLE OF CONTENTS
                                                                                                                 Page

TABLE OF AUTHORITIES .................................................................................... ii

GLOSSARY............................................................................................................. iii

INTRODUCTION AND SUMMARY OF ARGUMENT ........................................ 1

ARGUMENT ............................................................................................................. 4

I.       Apple’s Motion Was Timely Because Apple Moved Promptly Once It
         Became Clear Its Interests Were No Longer Adequately Represented .......... 4

         A.       Binding Precedent Rejects Plaintiffs’ Legal Rule................................. 4

         B.       Apple Moved Promptly Once It Became Clear That Google
                  Could No Longer Represent Apple’s Interests ..................................... 7

         C.       The Remaining Timeliness Factors Favor Apple’s Intervention ........ 14

                  1.       Plaintiffs Do Not Identify Any Unfair Prejudice From
                           Apple’s Intervention ................................................................. 15

                  2.       Plaintiffs Do Not Refute The Purpose And Need
                           Supporting Apple’s Intervention............................................... 20

II.      Google Can No Longer Adequately Represent Apple’s Interests................. 23

CONCLUSION ........................................................................................................ 29




                                                           i
USCA Case #25-5016                 Document #2104167                      Filed: 03/05/2025            Page 3 of 35



                                      TABLE OF AUTHORITIES

                                                                                                             Page(s)
                                                      CASES

*Cameron v. EMW Women’s Surgical Center, P.S.C.,
  595 U.S. 267 (2022) ................................................................................2, 5, 8, 13

*Campaign Legal Center v. Federal Election Commission,
  68 F.4th 607 (D.C. Cir. 2023) ............................................................................... 5

Deutsche Bank National Trust Co. v. FDIC,
  717 F.3d 189 (D.C. Cir. 2013) ............................................................................ 19

Hodgson v. United Mine Workers of America,
  473 F.2d 118 (D.C. Cir. 1972) ........................................................................5, 23

*Roane v. Leonhart,
  741 F.3d 147 (D.C. Cir. 2014) ................................................................15, 16, 17

United Airlines, Inc. v. McDonald,
  432 U.S. 385 (1977) .............................................................................................. 6

United States v. AT&T Co.,
  642 F.2d 1285 (D.C. Cir. 1980) ..............................................................15, 21, 22

United States v. British American Tobacco Australia Services, Ltd.,
  437 F.3d 1235 (D.C. Cir. 2006) .......................................................................... 14

                                        OTHER AUTHORITIES

*Fed. R. Civ. P. 24(a)................................................................................................. 6

7C Charles Alan Wright & Arthur R. Miller, Federal Practice &
  Procedure (3d ed. 2007) ..................................................................................... 16




* Authorities upon which we chiefly rely are marked with asterisks.


                                                           ii
USCA Case #25-5016   Document #2104167       Filed: 03/05/2025   Page 4 of 35



                              GLOSSARY

 Abbreviation/acronym   Description

 Apple                  Apple Inc.

 Google                 Google LLC

 ISA                    Information Services Agreement

 PFJ                    Proposed Final Judgment (JA676-710)




                                      iii
USCA Case #25-5016       Document #2104167            Filed: 03/05/2025    Page 5 of 35



            INTRODUCTION AND SUMMARY OF ARGUMENT

      Because Plaintiffs largely ignore it, we begin with the key event necessitating

Apple’s intervention motion: On November 20, 2024, Plaintiffs proposed an

extraordinary, if not unprecedented, remedial term targeting Apple by name, that

would prevent Apple and Google from exchanging “anything of value” or entering

into “any commercial terms” for the next ten years. JA682. That remedial term goes

beyond “revenue share” and “default status” for general search; it applies to any

contract, for “anything of value,” for ten years. Indeed, when pressed by the district

court on the breadth of this term, Plaintiffs doubled down: they took the remarkable

position that this term would prohibit any “type of … contract between Google and

Apple in which there would be anything exchanged of value from Google to Apple.”

JA882. Yet Plaintiffs refer blandly to that term as a “revenue share” provision and

do not actually acknowledge its full breadth until a footnote on page 37 of their brief.

      Plaintiffs suggest that Apple must have known this was coming because

Plaintiffs had earlier proposed a general remedial framework that alluded to a

“‘comprehensive’ decree” with “‘reinforcing remedies.’” Pls.’ Response Br. (“RB”)

40. Wrong. Plaintiffs never once previously stated or even suggested before

November 20—not in the general outlines of their proposed remedial framework,

nor anywhere else—that they would request such extraordinary relief explicitly

targeting Apple. And, critically, this new provision created a divergence in interests



                                           1
USCA Case #25-5016       Document #2104167           Filed: 03/05/2025   Page 6 of 35



between Apple and Google. If, or once, the district court takes default status off the

table, Google has little incentive to protect Apple’s interest in revenue share in the

face of Plaintiffs’ proposed final judgment (“PFJ”). That is because, as Plaintiffs do

not dispute, their total prohibition of any exchange of consideration would threaten

to afford Google a windfall in the form of distribution of Google Search to Apple’s

users for free. Only Apple maintains that it can provide its users equal and

competitive access to search providers on its devices. As soon as Plaintiffs’ and

Google’s PFJs made clear they have different priorities, Apple moved promptly to

intervene—in a matter of just a few days.

      In nevertheless arguing that Apple’s request was untimely, Plaintiffs gloss

over the correct legal standard for assessing timeliness and ignore the breadth of

their PFJ. Plaintiffs posit that Apple has known since the start of this case that the

ISA was at issue and that, therefore, Apple’s motion was untimely. But that position

goes beyond even the district court. Moreover, the governing test—which Plaintiffs

ignore—is whether the applicant moved promptly once it became “clear” its interests

would no longer be adequately represented. Cameron v. EMW Women’s Surgical

Ctr., P.S.C., 595 U.S. 267, 279-80 (2022). Here, the inadequacy of Google’s

representation did not become “clear” until Plaintiffs proposed a remedy that

threatens to afford Google billions of dollars at Apple’s expense and that would




                                          2
USCA Case #25-5016        Document #2104167           Filed: 03/05/2025     Page 7 of 35



hamstring Apple’s ability to contract with Google for “anything of value” for the

next ten years. Plaintiffs have no answer for that, so they just disregard this standard.

      Plaintiffs instead turn to other factors that cannot overcome an applicant’s

“right” to intervene under Rule 24. Citing prejudice, Plaintiffs argue that Apple’s

intervention would require Plaintiffs to devote time and resources to “tak[ing]

depositions” and “prepar[ing] for cross-examination at trial,” and Plaintiffs complain

that Apple’s testimony could take up “a day-and-a-half” of the trial schedule. RB44.

These concerns—lurking whenever any party joins a case—cannot defeat an

applicant’s right to intervene under Rule 24, and Plaintiffs cite no caselaw to the

contrary. Indeed, because Plaintiffs fail to identify unfair prejudice stemming

specifically from Apple’s supposed delay in seeking intervention, the prejudice

inquiry favors Apple. Nor does the district court’s decision to grant Apple amicus

status immunize the flawed decision below. This Circuit has long recognized that

appearing as an amicus is no substitute for intervention.

      Plaintiffs’ attempt to defend the district court’s decision on the alternative

ground that Google can adequately represent Apple’s interests also fails.             As

Plaintiffs see it, nothing about their PFJ on November 20 changed Google’s ability

to defend Apple’s interests. But Plaintiffs continue to ignore the sweep of their own

remedy targeted at Apple. If implemented, the PFJ would (in Plaintiffs’ telling)

prohibit Apple from contracting with Google for anything of value.               Such a



                                           3
USCA Case #25-5016       Document #2104167           Filed: 03/05/2025   Page 8 of 35



prohibition would either harm Apple’s users by preventing their access to the best

search engine, or harm Apple by conferring upon Google a financial benefit at

Apple’s expense. And it would preclude other contractual arrangements between

the parties for matters other than search, such as AI or cloud services, which could

stunt the development of critical technologies. The PFJ also is premised upon factual

assumptions regarding Apple’s future intentions in the search market. Google cannot

adequately represent Apple’s interests with respect to this far-reaching remedy.

      The district court’s decision should be reversed.

                                   ARGUMENT

I.    Apple’s Motion Was Timely Because Apple Moved Promptly Once It
      Became Clear Its Interests Were No Longer Adequately Represented

      A.     Binding Precedent Rejects Plaintiffs’ Legal Rule

      At the outset, Plaintiffs’ position is fatally flawed because they employ the

wrong legal standard. They repeatedly contend that because Apple “knew its

interests were affected,” it had to intervene sooner.          RB30 (capitalization

normalized). Not even the district court determined that Apple was required to

intervene at the points proposed by Plaintiffs—not when the complaints were filed,

not when trial commenced, and not when the district court issued its liability ruling.

That is because, as the Supreme Court recently made plain, “the most important

circumstance relating to timeliness is that [an applicant] sought to intervene as soon

as it became clear that [its] interests would no longer be protected by the parties in


                                          4
USCA Case #25-5016       Document #2104167           Filed: 03/05/2025     Page 9 of 35



the case.” Cameron, 595 U.S. at 279-80. Timeliness, in other words, is assessed

from the moment the inadequacy of representation becomes “clear,” and not—as

Plaintiffs repeatedly assume—the moment an applicant knows that “its interests”

may be “affected” by the litigation, a fundamentally different question.

      Stuck with Cameron, Plaintiffs try to reinvent it. They cite a snippet of the

Supreme Court’s decision and argue that “[t]imeliness is to be determined from all

the circumstances.” RB33 (quoting Cameron, 595 U.S. at 279). But the very next

sentence explains that “the most important circumstance” in assessing timeliness is

that an applicant moves to intervene “as soon as it bec[omes] clear” that its interests

cannot be represented by existing parties. Cameron, 595 U.S. at 279-80 (citation

omitted). This Circuit’s caselaw is of a piece: The “point at which it became clear

the intervenor’s interests would no longer be protected” is what matters. Campaign

Legal Ctr. v. Fed. Election Comm’n, 68 F.4th 607, 610 (D.C. Cir. 2023). That

standard—not any “knew its interests were affected” rule—controls this case.

      In fact, Plaintiffs’ primary argument here—that Apple waited “over four years

from the commencement of litigation” to intervene, RB30—tracks the very

argument the Supreme Court rejected in Cameron, namely, that the applicant’s

“motion was not timely because it came after years of litigation in the District

Court,” 595 U.S. at 279; Hodgson v. United Mine Workers of Am., 473 F.2d 118,

129 (D.C. Cir. 1972) (permitting intervention “some seven years after [the action]



                                          5
USCA Case #25-5016       Document #2104167            Filed: 03/05/2025   Page 10 of 35



was filed” because intervention was “necessary to preserve some right which cannot

otherwise be protected” (citation omitted)). But Plaintiffs ask this Court to reject

Cameron’s standard and put parties like Apple in the unworkable situation in which

an intervention request is either too early or too late.

      If Plaintiffs’ proposal were the rule, some putative intervenors who meet Rule

24’s requirements would simply be out of luck. If an applicant moved early in

proceedings when “existing parties adequately represent[ed]” the applicant’s

“interest” on the theory that their interests might later diverge, the applicant would

be denied intervention. Fed. R. Civ. P. 24(a). And if the applicant instead moved

when its interests were no longer adequately represented, the applicant would be

denied intervention because, after all, it knew the entire time its “interests were

affected.” RB30. That is not the law. Indeed, the Supreme Court long ago

disclaimed that putative intervenors must “file protective motions to intervene to

guard against the possibility that the named representatives might not” represent the

intervenors’ interests. United Airlines, Inc. v. McDonald, 432 U.S. 385, 394 n.15

(1977). That is precisely what Plaintiffs’ proposed standard would require.




                                            6
USCA Case #25-5016      Document #2104167            Filed: 03/05/2025     Page 11 of 35



      B.     Apple Moved Promptly Once It Became Clear That Google Could
             No Longer Represent Apple’s Interests

      The reason Plaintiffs disregard the Cameron standard is that it is plainly met

here. The key dates that Plaintiffs, the district court, and Apple have offered are:

   • October/December 2020: When the litigation was first filed. This is

      Plaintiffs’ lead position, which the district court never adopted.

   • August 2024: When the district court issued its liability decision. This is

      another argument raised by Plaintiffs, which the district court never adopted.

   • October 2024: When Plaintiffs filed their proposed remedial framework.

      This is the district court’s view and now Plaintiffs’ fallback position on

      appeal. But it was never suggested by Plaintiffs below.

   • November/December 2024: When Plaintiffs and Google filed their PFJs,

      respectively. This is Apple’s consistent position.

      1. On November 20, 2024, Plaintiffs fundamentally shifted the focus of this

case by proposing a remedial term targeted at Apple—a non-party not accused of

any wrongdoing. JA682. This changed everything. The PFJ would harm both

Apple’s users and Apple itself, with Google unable to defend either of these interests.

Apple receives revenue from every other search engine that is available to users on

its devices, whether or not those search engines have default status. But the PFJ

would prohibit Apple from receiving revenue from Google no matter the terms, and

it stretches even beyond revenue sharing to prevent Apple and Google from

                                          7
USCA Case #25-5016      Document #2104167           Filed: 03/05/2025    Page 12 of 35



contracting for “anything of value” for the next decade. Id. While Google’s interest

is in preserving some form of default status, the PFJ gives Apple a Hobson’s Choice:

either stop distributing Google Search, thereby harming Apple’s users; or distribute

Google Search for free, thereby affording Google a competitive advantage. The only

possible rationale for such a term, given its otherwise untenable competitive effects,

is that Plaintiffs believe that Apple, a non-party, will respond by building its own

search engine. But Google cannot explain Apple’s plans with respect to search.

These circumstances made it “clear” that Google could no longer adequately

represent Apple’s interests. Cameron, 595 U.S. at 279-80.

      Plaintiffs do everything they can to hide from their own remedial proposal,

even misrepresenting it. According to Plaintiffs, their PFJ broadly provides that

“Google must not offer or provide something of value to a third party, including

payments or other commercial terms that create an economic disincentive to

compete in or enter the [general search engine] or Search Text Ad market(s).” RB13

(quoting JA682). Plaintiffs then claim that their PFJ “separately repeated that

prohibition as to Apple.” Id. But the portion of the PFJ Plaintiffs quote with respect

to third parties in general prohibits Google from “offer[ing] or provid[ing]

something of value” in exchange for “preferential treatment,” “making or

maintaining any GSE as a default,” or “preinstallation, placement, or default status

of any Search Access Point.” JA682. In other words, the general prohibition cited



                                          8
USCA Case #25-5016       Document #2104167            Filed: 03/05/2025   Page 13 of 35



by Plaintiffs prohibits Google from paying third parties for preferential treatment or

default status.

      The remedial term targeted at Apple is far broader. It provides, in full, that

“Google must not offer or provide anything of value to Apple—or offer any

commercial terms—that in any way creates an economic disincentive for Apple to

compete in or enter the [general search engine] or Search Text Ad markets.” Id.

That prohibition mentions none of the conditions that Plaintiffs included in the

general prohibition concerning other third parties.

      This is a provision of astonishing scope. When pressed on its breadth during

oral argument on Apple’s motion, Plaintiffs took the remarkable position that this

term would prohibit any “type of a contract between Google and Apple in which

there would be anything exchanged of value from Google to Apple.” JA882. And,

in this Court, Plaintiffs do not dispute that their PFJ threatens to afford Google tens

of billions of dollars per year at Apple’s expense. Yet not until page 37 of their brief

do Plaintiffs quote in full the PFJ’s remedial term targeting Apple, and even then

they hide it in a footnote. RB37 n.9.

      Google cannot represent Apple with respect to a remedial provision targeted

at Apple, premised on Apple’s future actions, and that would threaten to afford a

financial benefit to Google. See infra 23-28. Likewise, Google is in no position to

represent the interests of a company with whom it competes on many dimensions as



                                           9
USCA Case #25-5016      Document #2104167           Filed: 03/05/2025    Page 14 of 35



to the companies’ exchange of “anything of value” for the next decade. JA682.

Indeed, not even the district court posited that Google could adequately represent

Apple’s interests now that Plaintiffs’ PFJ creates a divergence between the two

companies with respect to the distribution of Google Search.

      2. Plaintiffs raise a host of earlier dates on which they claim that Apple should

have moved to intervene, but none made clear to Apple that Plaintiffs would propose

the sweeping remedial term they included in their November 20 PFJ driving a

divergence between Apple and Google.

      October/December 2020. Plaintiffs start with when they filed their complaints

against Google. But all those told Apple was that Plaintiffs sought to hold Google

liable under the antitrust laws for maintaining a monopoly by, among other things,

“secur[ing] default placements through distribution contracts.” JA336. “According

to their complaints, Google has unlawfully used the distribution agreements to

thwart competition and maintain its monopoly in the market.” JA337. Nowhere in

Plaintiffs’ complaints did they suggest they would propose a remedy that blocks

Apple and Google from contracting for a decade, or that they would propose a

remedy that threatens to afford Google an advantage over competitors.

      August 2024. Plaintiffs next isolate the date of the district court’s liability

decision. There, the district court agreed with Plaintiffs that “Google has violated

Section 2 … through its exclusive distribution agreements.” JA610. The district



                                         10
USCA Case #25-5016       Document #2104167            Filed: 03/05/2025    Page 15 of 35



court concluded that Google’s “browser agreements,” like the ISA with Apple, were

“exclusive insofar as they establish Google as the out-of-the-box default search

engine.” JA538. Accepting Plaintiffs’ framing of this case around the exclusive

nature of Google’s distribution agreements, the district court determined that Google

had violated the antitrust laws based on (among other things) exclusive default

agreements.

      But the remedial term targeted at Apple is not about Google’s maintenance of

a monopoly via default agreements.          It does not even mention exclusivity,

preferential treatment, or default status. Instead, Plaintiffs seek to address Google’s

conduct by forcing Apple to create a brand new product to compete with Google, all

while threatening to confer a benefit on Google.

      Plaintiffs argue that because the district court alluded to the fact that the ISA

disincentivizes Apple from creating a search engine, Apple should have known that

Plaintiffs would propose a remedy “prohibiting payments that would keep this

‘economic disincentive’ in place.” RB38. But when Plaintiffs “contend[ed] that the

billions of dollars that Apple receives in revenue share are, in effect, a payoff to keep

Apple on the sidelines of search,” the district court reasoned that “[t]he evidence

relating to Apple cannot be cast in such absolute terms and calls for more nuance.”

JA574. And the court separately rejected Google’s procompetitive justifications in

support of its search distribution agreements (including benefits of revenue share)



                                           11
USCA Case #25-5016      Document #2104167            Filed: 03/05/2025    Page 16 of 35



because they were not directly tied to exclusive default status. JA582. This

underscores that the liability opinion was focused on concerns with exclusive

defaults. Plaintiffs cannot reasonably expect Apple to have predicted that Plaintiffs

would seek to fix what the district court did not conclude was a problem. Indeed,

not even the district court suggested that its liability decision should have put Apple

on notice that Plaintiffs would seek such far-reaching relief directly targeted at

Apple’s users and commercial interests.

      October 2024. Plaintiffs next contend that the broad outlines of their remedial

framework filed on October 8 “spelled … out” the terms of their later-filed PFJ

targeting Apple. RB39; see also RB59 (claiming the “Proposed Remedy Framework

previewed all of the aspects of Plaintiffs’ [PFJ]”). But Plaintiffs nowhere proposed

October 8 as a relevant date in their briefing below. For good reason: the high-level

framework they proposed on October 8 did not mention Apple by name, nor did it

suggest that Plaintiffs would seek to prevent Apple from entering into any

commercial agreement with Google that might disincentivize Apple from

developing its own search engine, or anything like that.

      Plaintiffs argue that their framework “identified well-defined categories of

contracts,” which included “revenue-sharing arrangements” that “clearly encompass

the ISA.” RB39. But the remedial term targeting Apple is not about the ISA, nor is

it even limited to revenue sharing. It is about the exchange of “anything of value”



                                          12
USCA Case #25-5016      Document #2104167            Filed: 03/05/2025    Page 17 of 35



between Apple and Google. JA682. Moreover, the timeliness standard does not

require speculation that some remedy might be proposed; it focuses on when it

became clear that Google would no longer adequately represent Apple’s interests.

      Plaintiffs’ argument boils down to a claim that Apple should have guessed

that Plaintiffs would seek sweeping relief requiring Apple to develop a product to

compete with Google Search. Apple was supposed to divine Plaintiffs’ future plans

by reading between the lines on one page of the district court’s 286-page liability

decision and by extrapolating from Plaintiffs’ vague suggestion, offered in a

high-level remedial framework, that they would seek broad relief respecting

“revenue share.” RB37-40. That theory is especially far-fetched when Apple has

no interest in creating a general search engine, and thus no reason to expect such a

remedy forcing it to build one in a case involving Google.

      Rule 24 does not require that would-be intervenors engage in the kind of

guess-work that Plaintiffs demand. Quite the contrary—it rules out guess-work. It

requires that applicants move to intervene promptly only when it becomes “clear”

that existing parties can no longer adequately represent their interests. Cameron,

595 U.S. at 279-80. Such clarity did not materialize until Plaintiffs offered their PFJ

on November 20. That Plaintiffs and the district court each offer distinct visions of

when Apple should have intervened—either at the very start of the case, or at least

when the liability decision was issued, or at the very minimum when Plaintiffs



                                          13
USCA Case #25-5016       Document #2104167           Filed: 03/05/2025   Page 18 of 35



offered their remedial framework on October 8—only underscores that at none of

these points in time was it “clear” to Apple that Google could not adequately

represent its interests during the remedial phase of this case.

      C.     The Remaining Timeliness Factors Favor Apple’s Intervention

      As explained above and in Apple’s opening brief, a motion to intervene is

timely under the Supreme Court’s decision in Cameron and this Circuit’s decision

in Campaign Legal Center so long as it is filed promptly after the inadequacy of

representation crystalizes. Apple Opening Br. (“OB”) 33-34. Assessments of the

purpose or need for intervention cannot overcome an otherwise timely motion.

OB34. Nor can predictions of prejudice, divorced from the applicant’s supposed

delay in moving to intervene. Id. And that must be the rule: an applicant’s “right”

to intervene under Rule 24 would mean little if it could be denied even though the

applicant moved to intervene at the first available time. OB25; see supra 5-6.

      Plaintiffs claim they disagree, but offer little in the way of support. They note

that this Court has described four factors to the timeliness inquiry—including the

time elapsed, the purpose of intervention, the need for intervention, and the

probability of prejudice. RB29 (citing United States v. British American Tobacco

Australia Servs., Ltd., 437 F.3d 1235, 1238 (D.C. Cir. 2006)). But they do not

identify a single case where this Court denied a motion to intervene filed promptly

after the inadequacy of representation became clear—whether on prejudice grounds



                                          14
USCA Case #25-5016      Document #2104167          Filed: 03/05/2025   Page 19 of 35



or something else. What Plaintiffs’ cases instead show is that the applicant’s delay

may not doom their motion, where (for example) belated intervention would not

“unfairly disadvantage[] the original parties.” Roane v. Leonhart, 741 F.3d 147, 151

(D.C. Cir. 2014) (citation omitted); United States v. AT&T Co., 642 F.2d 1285, 1294

(D.C. Cir. 1980) (explaining that delayed intervention could be timely if for a

“limited purpose”). These factors, in other words, can support the applicant’s

intervention notwithstanding some delay; they do not doom it when the applicant

moved promptly.

      However construed, the timeliness considerations cited by Plaintiffs—

prejudice, purpose, and need—weigh decisively in favor of Apple’s intervention.

            1.     Plaintiffs Do Not Identify Any Unfair Prejudice From Apple’s
                   Intervention

      Like the district court, Plaintiffs urge that Apple’s intervention is untimely

because it would cause “substantial prejudice” to “the existing parties.” RB43. But

they make the same mistake as the district court—invoking as evidence of prejudice

inevitable litigation burdens associated with Apple’s intervention, regardless of

whether those burdens have anything to do with undue delay. Neither the district

court nor Plaintiffs have identified any cognizable prejudice flowing from Apple’s




                                        15
USCA Case #25-5016      Document #2104167           Filed: 03/05/2025    Page 20 of 35



decision to intervene on December 23, as opposed to the date the district court chose,

October 8.

      At the outset, Plaintiffs do not dispute that “[t]o the extent prejudice factors

into the [timeliness] analysis, its purpose is to measure whether the party’s undue

delay in moving to intervene causes harm.” OB40; see OB34-35 (collecting cases).

Plaintiffs accuse Apple of citing “out-of-circuit cases,” RB46, but they nowhere call

into question that the prejudice inquiry is properly focused on harms from the

applicant’s delay. And that commonsense rule flows from the lead case Plaintiffs

cite—Roane v. Leonhart. Plaintiffs cite Roane for the proposition that “prejudice is

the ‘most important’ consideration in the analysis.” RB22 (quoting 741 F.3d at 152).

But Roane also says that “[t]he most important consideration in deciding whether a

motion for intervention is untimely is whether the delay in moving for intervention

will prejudice the existing parties to the case.” 741 F.3d at 151 (emphasis added)

(quoting 7C Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure

§ 1916 (3d ed. 2007)). Under this settled rule, burdens unconnected to delay do not

shift the balance. Applying the correct standard, the prejudice inquiry favors Apple.

      Start with November 20, when Plaintiffs filed their PFJ. Even putting aside

that it made sense for Apple to see Google’s own PFJ first, neither the district court

nor Plaintiffs have identified any prejudice flowing from the 33 days that elapsed

before Apple filed its motion. The absence of any such prejudice alone shows that



                                         16
USCA Case #25-5016       Document #2104167            Filed: 03/05/2025    Page 21 of 35



Apple’s motion to intervene was timely. See Roane, 741 F.3d at 151-52 (finding

district court abused its discretion in denying intervention on timeliness grounds

where no undue prejudice flowed from the delay).

      Nor have Plaintiffs identified any undue prejudice flowing from the 76-day

delay the district court identified.     Plaintiffs focus on discovery burdens: the

supposed “hundreds of hours to review discovery documents, prepare for and take

depositions, prepare responsive expert reports, and prepare for cross-examination at

trial.” RB44. But Plaintiffs would have undertaken these efforts regardless of

whether Apple had moved to intervene on October 9 or December 23.

      Plaintiffs also ignore that Apple has already been substantially involved in

discovery in this case. See Dkt. 1179 at 2 n.1 (Plaintiffs’ filing stating that “[d]uring

the remedies phase, Apple again made significant document productions, and its

potential witness was deposed”). Neither the district court nor Plaintiffs have

articulated any specific discovery burdens above and beyond those that would have

accompanied Apple’s participation one month earlier in the case.

      Plaintiffs repeat the district court’s concern about ensuring sufficient trial time

to accommodate the parties and resolve the case by August 2025. But again, the

need for sufficient trial time to accommodate Apple would have existed regardless

of whether Apple moved to intervene in October or December. Plaintiffs cite the

district court’s statement that it “does not have the same flexibility as it did last



                                           17
USCA Case #25-5016      Document #2104167              Filed: 03/05/2025   Page 22 of 35



September” with respect to scheduling. RB47 (quoting JA988). But that quote says

nothing about what flexibility the court had in October (when the court says Apple

should have moved), and neither the court nor Plaintiffs explain what changed

between October and December (when Apple moved).

      Plaintiffs repeatedly invoke the district court’s statement that there was no

flexibility in its trial schedule, because “it had already set aside ‘the maximum

number of days it has available.’” RB48 (quoting JA987); see RB4, 45. But they

neglect to mention that just an hour or so after hearing argument on Apple’s

intervention motion, the court agreed to extend the trial schedule by five days, more

than double what Apple’s intervention sought to add.            JA840-41; JA987 n.5;

JA945-47. And even after Apple filed its notice of appeal, the court moved up the

evidentiary hearing dates, presumably after an opening in the court’s schedule.

JA1004. The district court’s own adjustments to its schedule thus refute the idea

that the court’s schedule was so inflexible that it could not have found a way to add

a couple days to the trial for Apple’s intervention.

      The reality is that whatever prejudice in the form of delay or litigation burden

is not because of Apple; it is attributable to Plaintiffs’ decision to expand this case

in targeting Apple with a remedial term of extraordinary breadth. This undercuts

Plaintiffs’ invocation of the public’s interest in promptly resolving this matter in

light of the district court’s liability decision. Apple has never doubted the district



                                          18
USCA Case #25-5016      Document #2104167           Filed: 03/05/2025    Page 23 of 35



court’s desire to move expeditiously; that is why it filed a narrowly targeted limited

intervention motion to avoid disrupting the proceedings. But, to the extent adding

trial time delays the remedy decision in this way, such a minimal delay is directly

attributable to Plaintiffs’ belated attempt to fundamentally reshape Apple’s business

in a case brought against Google. Plaintiffs can hardly claim unfair prejudice when

they are responsible.

      Finally, Plaintiffs briefly reup the district court’s concern about follow-on

intervenors. RB48. But they have no response to Apple’s argument that Rule 24

provides a mandatory “right” to intervene when the requirements are met. See RB44.

The fact that other intervenors might seek to intervene as well is no basis to deny

intervention. And regardless, upholding Apple’s right to intervene would not mean

granting intervention to other follow-on parties. Unlike in Deutsche Bank National

Trust Co. v. FDIC, 717 F.3d 189 (D.C. Cir. 2013), Apple is uniquely situated: as

discussed above, Plaintiffs’ PFJ contains a unique term threatening to bar any

contract between Google and Apple for a decade. Despite Plaintiffs’ efforts to

obscure the uniqueness of their PFJ as to Apple, only Apple is barred from

contracting with Google for anything of value regardless of whether such contract

has any connection to search distribution, default status or preferential treatment.

This is precisely the concern that Apple wishes to raise in the remedies trial. See

supra 8-9.



                                         19
USCA Case #25-5016      Document #2104167           Filed: 03/05/2025    Page 24 of 35



      In addition, any follow-on applications for intervention at this stage are likely

to be deemed untimely, as underscored in Plaintiffs’ recently filed opposition to

Anthropic PBC’s motion to participate as amicus curiae. In opposing Anthropic’s

request to file an amicus brief and submit up to two affidavits, Plaintiffs emphasized

that Apple and Anthropic “are very differently situated” in light of the substantial

“productions” that Apple has made in discovery and the fact that Apple’s potential

witness has been deposed. Dkt. 1179 at 2 n.1. Plaintiffs further noted that Anthropic

waited 129 days after the remedial framework to file its motion, as compared to 76

days for Apple. Id. at 3. Apple is in a very different position.

             2.     Plaintiffs Do Not Refute The Purpose And Need Supporting
                    Apple’s Intervention

      Plaintiffs also offer no persuasive response as to the purpose and need for

Apple’s intervention. Apple’s participation is critical to crafting a remedy in this

case, and Apple wishes to protect its contractual rights through very limited

involvement in the remedies phase. These are precisely the kinds of circumstances

that this Court has held supports intervention. And Plaintiffs’ attempt to poke holes

in Apple’s inability to forecast exactly how the remedy trial will unfold fail.

      One note at the start: Plaintiffs’ suggestion that amicus status plus up to two

witness affidavits adequately protects Apple’s rights is disingenuous and wrong.

RB53-55. Plaintiffs’ counsel specifically told counsel for Apple that they intended

to challenge the admissibility of those affidavits. JA999. Remarkably, Plaintiffs


                                          20
USCA Case #25-5016       Document #2104167           Filed: 03/05/2025    Page 25 of 35



now insist that they “have not yet determined their position on” the affidavits’

admissibility. RB54 n.11. But just last week, Plaintiffs opposed Anthropic’s request

to submit witness affidavits because those affidavits, “standing alone, are

inadmissible hearsay.” Dkt. 1179 at 7. To be clear, Apple would welcome a

statement from Plaintiffs that they will not challenge Apple’s witnesses’ statements.

What Plaintiffs cannot do is insist that Apple has sufficient participation rights

because of these two witness affidavits and then turn around and seek to have them

excluded. Plaintiffs cannot have it both ways.

      But even assuming Apple is able to submit its affidavits and have them

considered, they are not enough to protect Apple’s rights. Paper affidavits are no

replacement for live witness testimony, or the right to cross-examine witnesses. The

affidavits would leave Apple “a mere spectator as Plaintiffs call fact and expert

witnesses testifying about everything from Apple’s capabilities in the search market

to its economic incentives related to search engines.” OB40.

      Plaintiffs’ remaining objections are no more successful. They cite this Court’s

decision in AT&T, which they claim supports denying intervention when the

applicant wishes to present evidence and argument. RB51. But AT&T underscored

that “a court should be more reluctant to deny an intervention motion on grounds of

timeliness if it is intervention as of right than if it is permissive intervention.” 642

F.2d at 1295. The Court thus permitted intervention in a late stage of the case



                                          21
USCA Case #25-5016        Document #2104167           Filed: 03/05/2025    Page 26 of 35



because it was for a limited purpose. Id. at 1295. The most that can be said for

AT&T is that non-limited-purpose intervention would be improper where the

applicant significantly delayed in filing their motion. That has no bearing here,

where Apple moved promptly to intervene, and its request for intervention is limited.

       Plaintiffs next fault Apple for not being more specific in terms of what it

would provide at trial, above and beyond the information the district court already

considered. RB15-16, 51-52. But Rule 24 does not require the intervening party to

explain precisely what evidence they intend to provide; the rule exists to ensure that

a party with a property interest that is not adequately represented has a right to

participate to protect that interest. And critically, Apple does not know who the

parties plan to call as witnesses, does not know what those witnesses would say, and

does not have access to the discovery record. What Apple does know is that it has

an interest in intervening to protect its interests and ensure a complete record on the

issues directly affecting it.

       In any event, Apple explained the kind of evidence it wishes to offer: “that

Plaintiffs’ prohibition on revenue share would harm consumers either by giving

Google a windfall or restricting consumer choice.” OB37. This is the “Hobson’s

Choice” created by Plaintiffs’ PFJ. Id. No witness presented testimony on this issue

at the liability trial, and Plaintiffs do not suggest otherwise. And it is not just about

Apple’s affirmative presentation; it is also about cross-examining Plaintiffs’ and



                                           22
USCA Case #25-5016        Document #2104167            Filed: 03/05/2025     Page 27 of 35



Google’s witnesses when they opine about Apple’s users and Apple’s business

plans.

         All this explains why Rule 24 provides a “right” to intervene—one that does

not depend on subjective and speculative assessments about what precise form of

evidence or argument Apple will provide at the right moment at trial. Apple has no

interest in disrupting the proceedings or providing duplicative or unnecessary

evidence; it seeks to exercise its right to intervene to protect its users and its business

from Plaintiffs’ late-breaking efforts to target Apple. Rule 24 exists for this kind of

situation. It implements a “basic jurisprudential assumption that the interest of

justice is best served when all parties with a real stake in a controversy are afforded

an opportunity to be heard.” Hodgson, 473 F.2d at 130. The district court lost sight

of that right in denying Apple’s motion on timeliness grounds.

II.      Google Can No Longer Adequately Represent Apple’s Interests

         Plaintiffs’ fallback attempt to defend the district court’s decision on the

alternative ground—not adopted by the district court below—that Google

adequately represents Apple’s interests also fails. RB55. Google has little incentive

to defend Apple’s right to receive revenue share payments absent default status, and

Google is in no position to represent Apple’s interests concerning all manner of

commercial agreements the parties might pursue over the next ten years. Nor can

Google speak to the business realities that have prompted Apple not to develop a



                                            23
USCA Case #25-5016      Document #2104167           Filed: 03/05/2025    Page 28 of 35



search engine to compete with Google Search. And finally, the expansive remedies

sought by Plaintiffs will require Google to prioritize defending other parts of its

business unrelated to the search distribution arrangements.

      Plaintiffs first assert that Google “has presumptively provided adequate

representation throughout this litigation” because Apple and Google are both

“contractual counterparties” to the ISA. RB56. They misunderstand Apple’s

argument. Apple agrees that Google was incentivized to defend the existing ISA

throughout the liability phase of this litigation, which is why Apple did not move to

intervene until Plaintiffs proposed a remedy sweeping far beyond the contours of the

ISA itself.

      Plaintiffs next contend that “nothing has materially changed … since the

liability opinion issued in August 2024.” RB58. That simply ignores the breadth

and scope of Plaintiffs’ PFJ, which explicitly targets Apple and threatens to not only

prohibit Apple from receiving any form of revenue for distributing Google Search,

thereby conferring a benefit to Google, but also to foreclose the exchange of

anything of value between Apple and Google for ten years to come. More to the

point, the PFJ is expressly premised on encouraging Apple to develop its own

competing search engine.      JA682.    Plaintiffs cannot explain how Google can

represent Apple with respect to a remedy designed to prompt Apple to take action to




                                         24
USCA Case #25-5016      Document #2104167           Filed: 03/05/2025    Page 29 of 35



compete with Google, and premised upon factual assumptions regarding what Apple

would do if the PFJ were implemented.

      Plaintiffs assert that Google’s PFJ shows that Google can adequately represent

Apple’s interests. According to Plaintiffs, Google “would retain some kinds of

revenue sharing, including payments for distribution, even if revenue sharing for

default status is prohibited.”   RB60-61 (emphasis added).        But Google’s PFJ

suggests tying revenue share to default status and preferential treatment. Google’s

PFJ specifically contemplates allowing Google to “enter into … agreement[s]

requiring a Browser Developer,” like Apple, “to set Google Search as the Browser

Default Search Engine.” JA726. Google proposes two conditions that, in its view,

would render such default agreements permissible: (1) Apple would be allowed to

make different browsers the default on different operating systems or for different

browsing modes, although revenue share would continue only where “Google

Search remains set as the Default Search Engine,” and (2) Apple could “promote”

other search services. JA726-27. Thus, contrary to Plaintiffs’ reading, Google’s

PFJ would continue tying revenue share to default status. Only Apple can explain

the competitive benefits of ensuring that search distributors have access to Apple’s

users on an equal footing with Google. Plaintiffs’ undeveloped and citation-free

suggestion in a footnote that Apple’s interest in preserving that aspect of the ISA is




                                         25
USCA Case #25-5016      Document #2104167            Filed: 03/05/2025    Page 30 of 35



somehow not a protectable interest under Rule 24 is wrong (and forfeited). Contra

RB63 n.14.

      As for Apple’s argument that Plaintiffs’ PFJ, if implemented as written, would

threaten to afford Google a multi-billion dollar benefit at Apple’s expense, Plaintiffs

offer no meaningful response on adequacy grounds. They restate their mistaken

claim that Apple’s and Google’s respective incentives “have been clear for the

entirety of this proceeding.” RB62. That non-sequitur does not show that Google

can adequately represent Apple’s interests with respect to a remedial provision that

would afford Google a benefit at Apple’s expense.          As explained above, the

complaints, the district court’s liability decision, and Plaintiffs’ remedial framework

all focused on revenue share for default status—Plaintiffs nowhere suggested, much

less clearly indicated, that they would seek an extraordinary remedy that would

prohibit Apple for a decade from receiving value for its services divorced from

default status. See supra 7-14. And Plaintiffs do not reconcile their speculation that

“Google will want to preserve as much revenue sharing and contractual flexibility”

as possible (RB62) with the fact that Google has previously insisted on default status

as part of the ISA. See OB7; JA444-45.

      Nor can Plaintiffs refute that their PFJ is premised on an assumption about

Apple’s future behavior. Plaintiffs claim their PFJ does not seek to “force Apple to

do anything,” and that “[w]hether Apple enters the search market is Apple’s business



                                          26
USCA Case #25-5016       Document #2104167           Filed: 03/05/2025    Page 31 of 35



and does not affect the ‘success’ of Plaintiffs’ Proposed Final Judgment.” RB63.

Plaintiffs’ assertions cannot be squared with the remedy they have proposed. If

Apple does not develop its own general search engine and instead continues to

distribute Google Search, Apple may be forced to surrender tens of billions of dollars

per year, potentially benefitting Google. Plaintiffs nowhere explain how, under

these circumstances, the PFJ does not turn on a factual assumption regarding Apple’s

intentions in the search engine market.

      At bottom, Plaintiffs’ arguments are premised on the incorrect notion that

because Google adequately represented Apple during the liability phase, there must

be some “special circumstances” that now “make [Google’s] representation

inadequate.” RB59 (citation omitted). But Apple and Google are unquestionably

differently situated at this stage. Again, the district court found that Google’s search

distribution agreements were “exclusive insofar as they establish Google as the

out-of-the-box-default search engine” and that those agreements had anticompetitive

effects. JA538, JA548. Google, however, continues to defend the right to be the

default across search access points. Apple maintains that it should be able to provide

search distribution services to multiple general search engines on an equal basis.

JA726-27. Plaintiffs’ PFJ would foreclose the arrangement Apple maintains with

other search providers available on Apple devices: revenue share absent any promise

of default status or other preferential treatment. And in doing so, it threatens to



                                          27
USCA Case #25-5016      Document #2104167            Filed: 03/05/2025    Page 32 of 35



afford Google a competitive advantage. Plaintiffs’ remedial proposal thus drives a

wedge between Apple and Google.



                                    *     *      *

      Ignoring the extraordinary terms of their own PFJ, and the legal standard that

the Supreme Court and this Court have adopted for gauging the timeliness of

intervention motions, Plaintiffs ask this Court to deny Apple its right to intervene to

defend its interests in response to Plaintiffs’ own PFJ targeting Apple by name.

Granting that request would strip non-parties like Apple of the rights granted to them

by Rule 24 and put them in the profoundly unfair situation of not being able to

protect their own interests even when, as here, a proposed remedy targets them.




                                          28
USCA Case #25-5016     Document #2104167           Filed: 03/05/2025   Page 33 of 35



                                 CONCLUSION

      For the foregoing reasons, the Court should reverse the district court’s order

denying Apple’s motion for intervention.


Dated: March 5, 2025                         Respectfully submitted,

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                                        29
USCA Case #25-5016      Document #2104167          Filed: 03/05/2025   Page 34 of 35



                      CERTIFICATE OF COMPLIANCE

      This brief complies with Federal Rule of Appellate Procedure 32(f) and (g),

because it contains 6496 words.

      This brief complies with the typeface requirements of Federal Rule of

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                                             /s/ Gregory G. Garre
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USCA Case #25-5016     Document #2104167         Filed: 03/05/2025   Page 35 of 35



                        CERTIFICATE OF SERVICE

      I hereby certify that on March 5, 2025, I electronically filed the foregoing

brief with the United States Court of Appeals for the District of Columbia Circuit

through the Court’s CM/ECF system. All parties are represented by registered

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